       EXHIBIT A


Case 1:20-bk-01526-HWV Doc 21-2 Filed 07/07/20 Entered 07/07/20 17:57:49   Desc
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  Fill in this information to identify the case:

  Debtor 1              Rachel Morris
                        __________________________________________________________________

  Debtor 2               ________________________________________________________________
  (Spouse, if filing)

  United States Bankruptcy Court for the: __________   District
                                          Middle District       of __________
                                                          of Pennsylvania

  Case number            20-01526
                         ___________________________________________




 Official Form 410
 Proof of Claim                                                                                                                                                     !"#$!

 Read the instructions before filling out this form. This form is for making a claim for payment in a bankruptcy case. Do not use this form to
 make a request for payment of an administrative expense. Make such a request according to 11 U.S.C. § 503.
 Filers must leave out or redact information that is entitled to privacy on this form or on any attached documents. Attach redacted copies of any
 documents that support the claim, such as promissory notes, purchase orders, invoices, itemized statements of running accounts, contracts, judgments,
 mortgages, and security agreements. Do not send original documents; they may be destroyed after scanning. If the documents are not available,
 explain in an attachment.
 A person who files a fraudulent claim could be fined up to $500,000, imprisoned for up to 5 years, or both. 18 U.S.C. §§ 152, 157, and 3571.

 Fill in all the information about the claim as of the date the case was filed. That date is on the notice of bankruptcy (Form 309) that you received.



 Part 1:        Identify the Claim

1. Who is the current
   creditor?
                                      BANK   OF AMERICA N.A.
                                      ___________________________________________________________________________________________________________
                                      Name of the current creditor (the person or entity to be paid for this claim)

                                      Other names the creditor used with the debtor      ________________________________________________________________________

2. Has this claim been                ✔
   acquired from
                                      !   No
   someone else?                      !   Yes. From whom?         ______________________________________________________________________________________________________



3. Where should notices               Where should notices to the creditor be sent?                               Where should payments to the creditor be sent? (if
   and payments to the                                                                                            different)
   creditor be sent?
                                      Bank of America
                                      _____________________________________________________                       Bank of America, N.A.
                                                                                                                  _____________________________________________________
   Federal Rule of                    Name                                                                        Name
   Bankruptcy Procedure
   (FRBP) 2002(g)                     PO BOX 31785
                                      ______________________________________________________                      P.O. BOX 660933
                                                                                                                  ______________________________________________________
                                      Number      Street                                                          Number      Street
                                      Tampa                      FL           33631-3785
                                      ______________________________________________________                       Dallas                    TX           75266-0933
                                                                                                                  ______________________________________________________
                                      City                       State             ZIP Code                       City                       State             ZIP Code

                                      Contact phone   1-800-669-6607
                                                       ________________________                                   Contact phone   1-800-669-6607
                                                                                                                                   ________________________

                                      Contact email     ________________________                                  Contact email   ________________________



                                      Uniform claim identifier for electronic payments in chapter 13 (if you use one):

                                      __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __


4. Does this claim amend              ✔
                                      !   No
   one already filed?
                                      !   Yes. Claim number on court claims registry (if known) ________                                 Filed on   ________________________
                                                                                                                                                    MM / DD       / YYYY



5. Do you know if anyone              ✔
                                      !   No
   else has filed a proof             !   Yes. Who made the earlier filing?           _____________________________
   of claim for this claim?




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 Part 2:    Give Information About the Claim as of the Date the Case Was Filed

6. Do you have any number        ! No
   you use to identify the       ✔ Yes. Last 4 digits of the debtor’s account or any number you use to identify the debtor: ____
                                 !                                                                                           9          1 ____
                                                                                                                                       ____ 7 ____
                                                                                                                                               4
   debtor?



7. How much is the claim?                             21,896.13 Does this amount include interest or other charges?
                                   $_____________________________.
                                                                             ! No
                                                                             ✔ Yes. Attach statement itemizing interest, fees, expenses, or other
                                                                             !
                                                                                      charges required by Bankruptcy Rule 3001(c)(2)(A).


8. What is the basis of the      Examples: Goods sold, money loaned, lease, services performed, personal injury or wrongful death, or credit card.
   claim?
                                 Attach redacted copies of any documents supporting the claim required by Bankruptcy Rule 3001(c).
                                 Limit disclosing information that is entitled to privacy, such as health care information.

                                 Recorded Mortgage
                                 ______________________________________________________________________________



9. Is all or part of the claim   ! No
   secured?                      ✔ Yes.
                                 !         The claim is secured by a lien on property.
                                           Nature of property:
                                           ✔
                                           !   Real estate. If the claim is secured by the debtor’s principal residence, file a Mortgage Proof of Claim
                                                            Attachment (Official Form 410-A) with this Proof of Claim.
                                           !   Motor vehicle
                                           !   Other. Describe:           11969 WOODLAND DR FELTON, PA 17322
                                                                          _____________________________________________________________



                                           Basis for perfection:          Recorded Mortgage
                                                                          _____________________________________________________________
                                           Attach redacted copies of documents, if any, that show evidence of perfection of a security interest (for
                                           example, a mortgage, lien, certificate of title, financing statement, or other document that shows the lien has
                                           been filed or recorded.)



                                           Value of property:                            $__________________
                                           Amount of the claim that is secured:                   21,896.13
                                                                                         $__________________

                                                                                                0.00 (The sum of the secured and unsecured
                                           Amount of the claim that is unsecured: $__________________
                                                                                                      amounts should match the amount in line 7.)



                                           Amount necessary to cure any default as of the date of the petition:                                0.00
                                                                                                                              $____________________


                                                                                      9.750
                                           Annual Interest Rate (when case was filed)_______%
                                           ✔
                                           !   Fixed
                                           !   Variable



10. Is this claim based on a     ✔ No
                                 !
    lease?
                                 ! Yes. Amount necessary to cure any default as of the date of the petition.                  $____________________


11. Is this claim subject to a   ✔ No
                                 !
    right of setoff?
                                 ! Yes. Identify the property: ___________________________________________________________________




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12. Is all or part of the claim    ✔ No
                                   !
    entitled to priority under
    11 U.S.C. § 507(a)?            ! Yes. Check one:                                                                                               Amount entitled to priority

   A claim may be partly                  !   Domestic support obligations (including alimony and child support) under
   priority and partly                        11 U.S.C. § 507(a)(1)(A) or (a)(1)(B).                                                              $____________________
   nonpriority. For example,
   in some categories, the                !   Up to $!"#$%* of deposits toward purchase, lease, or rental of property or services for
   law limits the amount                      personal, family, or household use. 11 U.S.C. § 507(a)(7).                                          $____________________
   entitled to priority.
                                          !   Wages, salaries, or commissions (up to $1!,&!"*) earned within 180 days before the
                                              bankruptcy petition is filed or the debtor’s business ends, whichever is earlier.                   $____________________
                                              11 U.S.C. § 507(a)(4).
                                          !   Taxes or penalties owed to governmental units. 11 U.S.C. § 507(a)(8).                               $____________________

                                          !   Contributions to an employee benefit plan. 11 U.S.C. § 507(a)(5).                                   $____________________

                                          !   Other. Specify subsection of 11 U.S.C. § 507(a)(__) that applies.                                   $____________________

                                          * Amounts are subject to adjustment on 4/01/$$ and every 3 years after that for cases begun on or after the date of adjustment.



 Part 3:    Sign Below

 The person completing            Check the appropriate box:
 this proof of claim must
 sign and date it.                !       I am the creditor.
 FRBP 9011(b).                    !
                                  XI am the creditor’s attorney or authorized agent.
 If you file this claim           !I am the trustee, or the debtor, or their authorized agent. Bankruptcy Rule 3004.
 electronically, FRBP
 5005(a)(2) authorizes courts
                                  !I am a guarantor, surety, endorser, or other codebtor. Bankruptcy Rule 3005.
 to establish local rules
 specifying what a signature
 is.                          I understand that an authorized signature on this Proof of Claim serves as an acknowledgment that when calculating the
                              amount of the claim, the creditor gave the debtor credit for any payments received toward the debt.
 A person who files a
 fraudulent claim could be I have examined the information in this Proof of Claim and have a reasonable belief that the information is true
 fined up to $500,000,        and correct.
 imprisoned for up to 5
 years, or both.
                              I declare under penalty of perjury that the foregoing is true and correct.
 18 U.S.C. §§ 152, 157, and
 3571.
                              Executed on date 07/01/2020        _______
                                                           MM / DD     /   YYYY




                                  !________________________________________________________________________
                                     /s/ Jerome Blank, Esquire
                                          Signature

                                  Print the name of the person who is completing and signing this claim:


                                  Name                    Jerome Blank, Esq., Id. No.49736
                                                         _______________________________________________________________________________________________
                                                         First name                   Middle name                   Last name

                                  Title                     Attorney
                                                         _______________________________________________________________________________________________

                                  Company                   Phelan Hallinan Diamond & Jones, LLP
                                                         _______________________________________________________________________________________________
                                                         Identify the corporate servicer as the company if the authorized agent is a servicer.



                                  Address                   1617 JFK Boulevard, Suite 1400               One Penn Center Plaza
                                                         _______________________________________________________________________________________________
                                                         Number        Street

                                                            Philadelphia, PA 19103
                                                         _______________________________________________________________________________________________
                                                         City                                           State       ZIP Code

                                  Contact phone           215-563-7000 Ext 31625
                                                         _____________________________                              Email    jerome.blank@phelanhallinan.com
                                                                                                                                 ____________________________________




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                         Rachel Morris                         75.57                         0.00                 0.00

                                                               0.00                          0.00                 0.00
                           9    1    7   4                                                                        222.02
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                                                               0.00                          0.00
                         BANK OF AMERICA, N.A.                 0.00                          0.00
                         BANK OF AMERICA N.A.                   21896.13                     0.00

                         Fixed accrual
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                            Phelan Hallinan Diamond & Jones, LLP
                     1617 JFK Boulevard, Suite 1400, One Penn Center Plaza
                                   Philadelphia, PA 19103

                         UNITED STATES BANKRUPTCY COURT
                       MIDDLE District of Pennsylvania (HARRISBURG)
                          Bankruptcy Petition #: 1:20-bk-01526-HWV

  In Re:
      RACHEL MORRIS (Debtor)

      Jerome Blank, Esq., Id. No.49736 certifies that a true and correct copy of the attached Proof
      of Claim was served upon the following person(s):

      Sara A. Austin                               Trustee
      Austin Law Firm LLC                          Charles J DeHart, III (Trustee)
      226 E. Market St.                            8125 Adams Drive, Suite A
      York, PA 17403                               Hummelstown, PA 17036
      (Attorney for Debtor)                        (Chapter 13 Trustee)

                                                   Asst. U.S. Trustee
                                                   United States Trustee
                                                   228 Walnut Street, Suite 1190
                                                   Harrisburg, PA 17101
                                                   (U.S. Trustee)




      Date      07/02/2020                           /s/ Jerome Blank, Esquire
                                                     Jerome Blank, Esq., Id. No.49736
                                                     Georgia Bar No. 49736
                                                     Phelan Hallinan Diamond & Jones, PLLC
                                                     11675 Great Oaks Way
                                                     Suite 320
                                                     Alpharetta, GA 30022
                                                     Tel: 770-393-4300 Ext 31625
                                                     Fax: 770-393-4310
                                                     Email: jerome.blank@phelanhallinan.com




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